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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         *

                   v.                            *       Case No. 23-CR-0229 (CJN)

TAYLOR TARANTO,                                  *

               Defendant                         *


                                              ooOoo

         MOTION FOR JUDGMENT OF ACQUITTAL AND FOR NEW TRIAL

       Taylor Taranto, through his undersigned counsel, hereby respectfully moves for a

Judgment of Acquittal and for a New Trial on Counts 2 and 3, which charged Mr. Taranto with

carrying a pistol without a license in violation of 22 DC Code § 4504(a)(1) and on Count 5,

which charged Mr. Taranto with unlawful possession of ammunition in violation of 7 DC Code §

2506.01(a)(3). As applied to Mr. Taranto, each of these statutes and the resultant convictions

violate Mr. Taranto’s rights guaranteed to him by the Second Amendment.

I.     LEGAL STANDARDS

       A.      Motion for Judgment of Acquittal

       A defendant may move for a judgment of acquittal after a guilty verdict. Rule 29(c),

FED . R. CRIM . PROC.

       B.      Motion for New Trial

       Rule 33 provides that a court may “vacate any judgment and grant a new trial if the

interest of justice so requires.” Rule 33(a), FED . R. CRIM . P.   “If the case was tried without a

jury, the court may take additional testimony and enter a new judgment.” Id. In contrast to the

standard on a motion for judgment of acquittal, in ruling on a motion for new trial, “the Court
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need not accept the evidence in the light most favorable to the government.” United States v.

Howard, 245 F. Supp. 2d 24, 30 (D. D.C. 2003). Any error sufficient to require reversal on

appeal is an adequate ground for granting a new trial. 3 Wright, King & Klein, Federal Practice

and Procedure § 556 (3d ed.2004). The burden of demonstrating that a new trial would be “in the

interest of justice” rests with the defendant. United States v. Mangieri, 694 F.2d 1270, 1285

(D.C. Cir. 1982). To meet this burden, a defendant must show that (1) there was a substantial

error and (2) the error affected the defendant’s substantial rights. See United States v. Walker,

899 F. Supp. 14, 15 (D. D. C. 1995) (citing United States v. Johnson, 769 F. Supp. 389, 395–96

(D. D. C. 1991)); see also Kotteakos v. United States, 328 U.S. 750, 765 (1946) (the inquiry is

“whether the error itself had substantial influence”). If the defendant shows that there was error,

the burden shifts to the Government to prove that the error was harmless. United States v.

Palmera Pineda, 592 F.3d 199, 201 (D.C. Cir. 2010).

II.    The Second Amendment Guarantees Mr. Taranto the Right to Bear Arms
       and Possess Ammunition for Those Arms

               A well regulated Militia, being necessary to the security of a free
               State, the right of the people to keep and bear Arms, shall not be
               infringed.

U.S. CONST. AMEND. II.

       In District of Columbia v. Heller, the Supreme Court held that the Second Amendment

confers “an individual right to keep and bear arms.” 554 U.S. 570, 595 (2008). And, that the the

District of Columbia’s ban on the possession of handguns violated the Second Amendment. 554

U.S. at 635. In McDonald v. City of Chicago, the Court further explained that the right to keep

and bear arms is a “fundamental” constitutional right implicit in our scheme of ordered liberty

and “deeply rooted in this Nation's history and tradition.” 561 U.S. 742, 768 (2010). The


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opinion in Heller leaves no doubt that, collectively, the District’s gun-control laws, and the

District’s application of these laws and their implementing regulations, swept too broadly,

amounting to a “ban on handgun possession in the home” that “violates the Second

Amendment.” Heller, 554 U.S. at 595. Indeed, Heller made clear that the Second Amendment

protects “bearing arms for a lawful purpose” by “law-abiding, responsible citizens ... in defense

of hearth and home.” Heller, 554 U.S. at 620, 634.

       Mr. Taranto is a person with no prior convictions who was not charged with using the

pistols or ammunition in connection with any other offense, had purchased the two pistols and

the ammunition lawfully, and maintained the pistols and ammunition in a locked backpack, in a

location where he was living at the time. Under these circumstances, the DC code felony

offenses under which he was convicted violated his rights under the Second Amendment.

       The Second Amendment leaves no room for these licensing restrictions, which as

applied, required Mr. Taranto to obtain a license while he lived in the District of Columbia for a

short period of time. There is no other constitutional guarantee which protects an individual

only upon obtaining a license or registering in the particular jurisdiction. Persons are not

required to obtain a license in order to exercise their First Amendment rights as they travel

throughout the United States. The right of the people to be free from warrantless searches under

the Fourth Amendment is not conditioned on obtaining a license while they travel in the District

of Columbia or throughout the states. No licensing or registration requirements are necessary to

secure rights guaranteed by the Fifth, Sixth, or Eighth Amendments. See, e.g., Heller, 554 U.S.

at 634-35:

               We know of no other enumerated constitutional right whose core
               protection has been subjected to a freestanding


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               “interest-balancing” approach. The very enumeration of the right
               takes out of the hands of government – even the Third Branch of
               Government – the power to decide on a case-by-case basis whether
               the right is really worth insisting upon. A constitutional guarantee
               subject to future judges’ assessments of its usefulness is no
               constitutional guarantee at all. Constitutional rights are enshrined
               with the scope they were understood to have when the people
               adopted them, whether or not future legislatures or (yes) even
               future judges think that scope too broad. We would not apply an
               “interest-balancing” approach to the prohibition of a peaceful
               neo-Nazi march through Skokie. See National Socialist Party of
               America v. Skokie, 432 U.S. 43 (1977) (per curiam). The First
               Amendment contains the freedom-of-speech guarantee that the
               people ratified, which included exceptions for obscenity, libel, and
               disclosure of state secrets, but not for the expression of extremely
               unpopular and wrong headed views. The Second Amendment is
               no different. Like the First, it is the very product of an interest
               balancing by the people—which Justice Breyer would now
               conduct for them anew. And whatever else it leaves to future
               evaluation, it surely elevates above all other interests the right of
               law-abiding, responsible citizens to use arms in defense of hearth
               and home.

       The District of Columbia’s licensing requirements for carrying a pistol and its

registration requirements for possession of ammunition, are unconstitutional as applied to Mr.

Taranto, no less than the interest-balancing approach rejected by the Supreme Court in Heller.

Indeed, as Heller noted, “whatever else [the Second Amendment] leaves to future evaluation, it

surely elevates above all other interests the right of law-abiding, responsible citizens to use arms

in defense of hearth and home.” Id. The facts in this case place Mr. Taranto squarely within the

Second Amendment rights recognized by Heller. Id.

       With respect to the registration requirements for the ammunition, as then Judge

Kavanaugh noted in his dissent, “Under Heller's history- and tradition-based test, D.C.'s

registration requirement is therefore unconstitutional.” Heller v. D.C., 670 F.3d 1244, 1270

(D.C. Cir. 2011).


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CONCLUSION

        For all these reasons, Mr. Taranto respectfully requests that the Court vacate his

convictions in counts 2, 3, and 5 as violative of rights guaranteed to him under the Second

Amendment. In the alternative, the Court should take additional testimony regarding the scope

of the Second Amendment as applied and enter a new judgment vacating those convictions.

                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez
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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of this Motion was served via ECF on this 24th day of June,
2025.

                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez




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